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                      Inner City Press
By E-mail to OetkenNYSDChambers@nysd.uscourts.gov
Hon. J. Paul Oetken, United States District Judge
Southern District of New York, 40 Foley Square, New York, NY 10007
Re: US v. Correia, 19-cr-725-3 (JPO) - Motion for Leave To Be Heard / Press
Request To
Dear Judge Oetken:
  On behalf of Inner City Press and in my personal capacity, I have been covering
the above-captioned case since it was filed. This concerns documents filed under
(requested) seal in the case, 19-cr-725.
 Defense counsel have "request[ed] that this motion be accepted ex parte and filed
under seal." This is opposition.
  Formally, PLEASE TAKE NOTICE that Inner City Press and its undersigned
reporter, in personal capacity, will move this Court before Honorable J. Paul
Oetken, U.S. District Judge for the Southern District of New York, at a date and
time directed by the Court, for entry of an order granting permission to the heard
on/and the unsealing of documents filed and/or submitted in 19-cr-725 (JPO),
pursuant to Docket No. 122 in that case and the Court's inherent power, and such
other and further relief as the Court deem just and proper.
   As the Court is aware, the public and the press have a presumptive First
Amendment and common law right of access to criminal proceedings and records.
See Press Enterprise Co. v. Superior Court of California, 464 U.S. 501, 508 (1984).
The presumption of openness can only be overcome if “specific, on the record
findings are made demonstrating that closure is essential to preserve higher values
and is narrowly tailored to serve that interest.” Press–Enterprise Co. v. Superior
Court, 478 U.S. 1, 13-14 (1986)
Non-parties such as Inner City Press and myself have standing to intervene in
criminal proceedings to assert the public’s right of access. United States v. Aref,
533 F.3d 72, 81 (2d Cir. 2008).
  Recently in SDNY Magistrates Court financial information about defendants has
been read out in the public record, including for the appointment of Federal


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Defenders. See, e.g., US v. Castro, et al., 20-mj-8994 (Freeman) &
http://www.innercitypress.com/sdny270fifthfreemanmassicp082420.html
  Those and other defendants whose financial information have been disclosed
including in Magistrates Court this summer had the same arguments as made by
counsel to defendant Correia, that the information might be used against them. And
yet the other defendants' information was disclosed.
  As stated in US v. Harris, 707 F.2d at 663, facts should be determined through
adversarial proceedings.
  While beyond the scope of this letter, the Court could limit the use in this case by
the prosecution of the unsealed information, without unnecessarily overriding the
presumption of public access.
Here, the requested sealing(s) and withholdings go entirety go beyond those
requested even in the CIA trial before Judge Crotty, US v. Schulte, 17 Cr. 548.
   In that case, Inner City Press vindicated the public's right to know, in the
docket, see https://twitter.com/big_cases/status/1232758559408087041 and
https://www.usatoday.com/documents/6786787-Docket-Annotation
 Inner City Press recently got even more sensitive filings unsealed in a North
Korea sanctions case before Judge Castel, US v. Griffith, 20-cr-15 (PKC), Docket
No. 33 (LETTER by EMAIL as to Virgil Griffith addressed to Judge P. Kevin
Castel from Matthew Russell Lee, Inner City Press, dated 5/18/2020, re: Press
Access to documents in US v. Griffith, 20-cr-15), 40 (order to unseal) and 41
unsealed filings). See also Inner City Press' May 9, 2020, filing to this Court for
openness in US v. Randall, 19-cr-131, No. 343.
 The U.S. Supreme Court has recognized that reporting by the news media allows
members of the public to monitor the criminal justice system without attending
proceedings in person. Richmond Newspapers, Inc. v Virginia, 448 U.S. at 572-73
(1980). By attending and reporting on court proceedings, members of the press
"function[] as surrogates for the public." Id. at 573.
 Inner City Press has covered the case(s) against Mr. Correia (and Mr. Parnas, et
al.) for some time. See, e.g., October 2019,
http://www.innercitypress.com/sdny1correia101619.html
In another pending case, US v. Edwards, 19-cr-64 (GHW), the Office had initially
said that documents submitted by the defendant (described as the leaker of Paul
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Manafort's Suspicious Activity Reports) should be put in the public docket. Then,
while Inner City Press is pursuing that, the US Attorney's Office has stopped
pushing.
 See also, https://twitter.com/big_cases/status/1299446350002769922
https://www.usatoday.com/documents/7047918-Order-on-Letter-Motion/
  The documents at issue here should not be sealed and should be made available.
Please confirm receipt & docket this timely responsive filing. Thank you.
Respectfully submitted,
/s/
Matthew Russell Lee, Inner City Press
cc: wharrington@goodwinlaw.com, jmarcus@mnrlawfirm.com
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